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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 NAU COUNTRY INSURANCE COMPANY,

         Plaintiff,
                                                                     Case No. 1:23-cv-127
 v.
                                                                     HON. JANET T. NEFF
 FRANK M. WOOD, et al.,

         Defendants.
 ____________________________/


                                              ORDER

       Pending before the Court is Defendant Frank M. Wood’s request for a pre-motion

conference, proposing to file a motion to remand (ECF No. 46). Plaintiff does not oppose the

request. Accordingly,

       IT IS HEREBY ORDERED that Defendant Wood shall, no later than November 15,

2023, file the motion to remand.

       IT IS FURTHER ORDERED that any response in opposition to the motion to remand is

due no later than seven (7) days after the motion is filed.


Dated: November 8, 2023                                        /s/ Janet T. Neff
                                                              JANET T. NEFF
                                                              United States District Judge
